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 9
                                UNITED STATES DISTRICT COURT
10
                               CENTRAL DISTRICT OF CALIFORNIA
11

12    LAMYA BREWSTER, individually and                         Case No. EDCV 14-2257 JGB
      as class representative,                                 (SPx)
13
                               Plaintiff,                      PROOF OF SERVICE OF
14    vs.                                                      SUMMONS AND CLASS
                                                               ACTION CIVIL RIGHTS
15    CITY OF LOS ANGELES, a municipal                         COMPLAINT, ETC., ON
      corporation; LOS ANGELES POLICE                          DEFENDANT LOS
16    DEPARTMENT, a public entity, CHIEF                       ANGELES POLICE
      CHARLIE BECK, individually and in his                    DEPARTMENT
17    official capacity, and Does 1 through 10,

18                             Defendants.

19          TO THE COURT:
20          ATTACHED HERETO are Proofs of Service of Summons, Class Action Civil
21   Rights Complaint for Injunctive Relief and Damages; Notice of Intra-District Transfer
22   by Clerk of Court; Notice to Parties of Court-Directed ADR Program; and Notice of
23   Interested Parties on defendant Los Angeles Police Department.
24
     DATED: November 5, 2014
25
                                            DONALD W. COOK
26                                          Attorney for Plaintiff
27                                       /s/ Donald W. Cook
                               By___________________________________
28                                         Donald W. Cook
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